
654 S.E.2d 700 (2007)
STATE of North Carolina
v.
David FELTON.
No. 32P98-4.
Supreme Court of North Carolina.
November 8, 2007.
Robert Montgomery, Senior Deputy Attorney General, Michael Nifong, District Attorney, for State.


*701 ORDER

Upon consideration of the petition filed by Defendant on the 22nd day of May 2007 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th day of November 2007."
Upon consideration of the petition filed by Defendant on the 17th day of September 2007 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th day of November 2007."
